Case 0:09-cr-60212-KAM Document 82 Entered on FLSD Docket 02/03/2020 Page 1 of 19



                        UNITED STATES DISTRICT COURT
                                                               FILED BY~...::-t_ o.c.
                        SOUTHERN DISTRICT OF FLORIDA
                            (PALM BEACH DIVISION)                    FEB 02 2020           \
                                                                     ANGELA E. NOBLE
                                                                    CLERK U.S. DIST. CT,
                                                                    s.D. oF FLA. -W.P.B.


 GREGORY WELCH,
     Petitioner,


 v.
                                            Case No. 09-CR-60212-KAM
 UNITED STATES OF AMERICA,
     Respondent.




                        MOTION TO REDUCE SENTENCE
                                PURSUANT TO
                        18 U.S.C. § 3582(C)(1)(A)
                         OF THE "FIRST STEP ACT"
                   EXTRAORDINARY AND COMPELLING REASONS



        COMES NOW Petitioner Gregory Welch "Petitioner" who files
 this motion pro-se and prays that this motion gets construed
 liberally. Haines v. ~erner 404 U.S. 519 (1972). Petitioner brings
 this above styled motion based on an "extraordinary and compelling"
 reason under§ 3582(c) ..




                                       1.
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Petition er prays that this Court adopts the facts stated
forthwit h and vacate Petiion er's sentence and/or resenten ce
Petition er to time served.




                               PROCEDURAL HISTORY


        Petition er was sentence d on Septemb er 17, 2010 for possessi on
of a firearm by a convicte d felon, § 922(g)* and the ACCA** (The
ACCA was applied at sentenc ing). Petition er received a 15-year
sentence after a second plea. Petition er appealed the sentence
that was denied, see United States v. Welch 683 F.3d 1311 (2012).
Petition er then filed a writ of certiora ri which was denied on
January 7, 2013. See Welch v. United States              --u.s.-- (2013).
Petition er then filed a pro-se 28 U.S.C. § 2255 motion challeng ing

the plea agreeme nt and the ACCA enhancem ent. The§ 2255 was denied.
See D.E. -- (2014). Petition er then filed for a certific ate of




*Petition er's indictmen t does not list the ACCA enhancement or the penalty set
 out based on§ 924(a)(2) , Rehaif v. United States --u.s.--(2 019) clarifies
 the standards of what constitut es a valid convictio n based on the Supreme
 Court's interpret ation.
~h':Petitioner I s priors have now been invalidat ed under the § 924(a) provision
  of the "First Step Act" because they happened more than 15 years. In fact,
  it was 23 years ago therefore Petitione r prays the Court takes that into
  considera tion




                                         2.
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 appe alibi lity that was denie d. Petit ione~ ·then filed to suppl
                                                                    emen t
 the appea l and hold his Petit ion in abeya nce pendi ng the
                                                               Supre me
 Court decis ion in J~hns on v. Unite d State s 135 s:ct. 2251
                                                                (2015 ).
 The Court did not respo nd. Two weeks befor e the Supre me Court
 issue d the opini on in Johns on v. Unite d State s on June 9,
                                                                 2015,
 Petit ione r's 28 u.s.c . § 2255 was denie d witho ut an opini on.
 The court s issue d its opini on in Johns on v. Unite d State s
                                                                 on June
 25, 2015. Stati ng among other thing s that the resid ual claus
                                                                   e of
 the ACCA is unco nstitu tiona lly vague . In July, Petit ioner
                                                                 filed
 a motio n for re~on sider ation in light of the Supre me Court
                                                                decis ion.,


      In Johns on v. Unite d State s, the Court of Appe als sent the
handw ritten motio n back as unfil ed. Petit oiner then filed
                                                              a pro-s       e
writ of certi orari to the Supre me Court of the Unite d State
                                                                s in
which was grant ed on Janua ry R, 2016. Petit ioner secur ed
                                                              a 1-1
majo rity victo ry in the Supre me Court . See Welch v. Unite d
                                                                State s
136 S.Ct. 1257 (2016 ) that ruled that Johns on was retro activ
                                                                 e.
Petit ione r's case helpe d more than 1,500 inmat es who becam
                                                               e
eligi ble sente ncing redu~ tions and/o r imme diate ~elea se.
                                                               It
expan ded to more than 20,00 0 feder al and state inma tes, and
                                                                  it
clari fied the stand ards on the writ of habea s corpu s and
retro activ ity~ Petit ioner was reman ded back to the Court
                                                              ~f:
Appe als where he await s a decis ion from the- Court of Appe
                                                              als.




                                     3.
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                                  DISCUSSION


        The First Step Act was sign~d into law on December 21, 2018._
 Petitione r before the enactment of the First Step Act did not have
 remedy to address the courts only through a Rule 35. Whereas, the
 extraordin ary and compellin g reasons rest slowly on the B.Q.P          and
 the director of the B.Q.P. On September 24, 2018 Petitione r was
 on duty as a suicide companion (suicide companion s work to prevent
 ~uicide amongst inmates who are suicidal~ suffer from depressio n
 or numerous mental illnesses and or under the influence of
·psycotrop ic drugs). While on duty_ Petitione r observed a medical
 officer being subded by an inmate. Petitione r called Control and
 helped secure the officer's safety. Staff commended Petitione r with
notes and statement s on Petitione r's character . (Petitione r is not
 authorized to view the nature of statements due to the sensitive
nature, i.e. full names, rank of those involved) . Petitione r,
 through due diligertce waited on the institutio n to forward the
request for immediate release to the U.S. Attorney handling
Petitione r's case. Petitione r's superviso r sought a reduction in
sentence in which was turned down. Then Petitione r was instructed
 to file an administr ative remedy through Unit Team i.e. request
to case manager, then BP-8, BP-9 to Warden, then BP-10 to Region,
then BP-11 to Washingto n D.C. These steps were.in place prior to
the enactment of the "First Step Act" However, it is an




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                                                                  l



 insu rmo unta ble hurd le for an inm ate to go
                                                 ove r. Pet itio ner is in
 an awkwrd situ atio n beca use he save d an offi
                                                   cer 's life in an
 inst itut ion whe re ther e have been assa ults
                                                  on staf f. Alth ~ug h,
 Peti tion er has been a men tor, has take n clas
                                                   ses on cog niti ve
beh avio ral thin king , and work s as a suic ide
                                                   com pani on, Pet itio ner
is in an extr aord inar y situ atio n in whic h
                                                Pet itio ner pray s that
this cou rt take s into con side rati on. Peti tion
                                                    er has neve r rece ived
any disc ipli nary sanc tion s. He has been prog
                                                  ramm ing exte nsiv ely
whi le inca rcer ated , has been         a men tor.   Pet itio ner has done "
ever ythi ng pos sibl e to mee t the req uisi te
                                                  stan dard s of reh abil itat ion .
 .
Peti tion er file s this mot ion due to the fact
                                                      the time in whic h the
B.·0 .P. was to resp ond , the B,.0 .P. had not resp
                                                     ond ed, and the "Fir st
Step Act 0 in 18      u.s. c.   § 358 2(c) (1)( A) stat es that a defe nda nt
                                                                              can
peti tion the cou rts afte r exh aust ing all adm
                                                   inis trat ive rem edie s
or can file a mot ion on his own 30 days afte
                                                  r the init ial fili ng.
Whi chev er com es firs t. It has been more than
                                                   30 days , so Pet itio ner
brin gs the inst ant peti tion befo re the cou
                                                rts. Pet itio ner prio r to
fili ng, aske d the cou rts to app oint an atto
                                                rney . The cou rt inst ruct ed
Peti tion er that one of the stan dard s of§
                                               358 2(c) mus t be met
firs t and the cou rts cou ld not do any thin g.
18 u.s. c. § 358 2(c)
18   u.s. c.   § 358 2(c) (1) stat es:
      ."The Cou rt ... May redu ce the term of imp riso
                                                        nme nt (and
        may impo se a term of prob atio n or supe rvis
                                                       ed rele ase
        with or with out con diti ons that does not exce
                                                          ed the




                                           s.
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      unserved potion of the original term of imprisonment ,
      after considering the factors set forth in§ 3553(a)
      to the extent that they are applicable, if it finds
      that:
      (i) e~traordinary and compelling reasons warrant such
          a reduction is consistent with· applicable policy
          statements issued by the sentencing commission.


Petitioner brings this motion based on the "extraordina ry and
compelling standards".
Extraordinary and compelling standards:


        Petitioner is in a unique situation, numerous factors alter
the range of conduct to be considered. See Welch v. United ~tat~s
136 S.Ct. 1265 (2016). For instance, Petitioner saved an officer's
life, a situation which in itself is extraordinary based on the
circumstance and Petitioner''s judgement, it was Petitioner's quick
thinking that turned a bad situation into a stable one, had
Petitioner not reacted effectively. That reaction caused Petitioner
to be in a life-altering experience. Petitioner since incarceration
has participated in numerous programs. Petitioner has received his
G.E.D., enrolled in college (currently still enrolled). Petitioner
has taken parenting classes, business management, legal research,
suicide prevention, numerous courses on correcting criminal
thinking errors, based on Pepper v. United States --U.S.-- (2011).
Petitioner's post-sentenci ng rehabilitatio n is evident. Petitioner




                                     6.
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brings this motion before the courts based on the fact the B.O.P
has elapsed in the time in which they are to respond. Petitioner
                          .                       \

continously keeps filing requests until he finally received a
response, a response which came too late. Petitioner most
respectfully brings this motion based· on the fact 18 u.s.c. §
3582(c)(1)(A ) authorizes district courts the ability to modify. a
term of imprisonment . See United States v. Kevich 8:03CR-37 (2019).
See United States v. Beck, No. 1:13-CR-186- 6 (2019) WL~2716505 at
at *5 (MDNC) June 28, 2019; U.s: v. Canty, No. 1:05-CR-45~- 1 (2019)
U.S. Dist. LEXIS 100923 (2019) WL 2498923 at *5 (S.D. Tex June 17,
2019);:u~it~d ~States -~- Fox No~ 2:14-CR-03-DB H (2019) U.S. Dist.
LEXIS 115388, 201~ WL 3046086 at *3 (D.Me. July 11, 2019) collecting
cases.




                                CONCLUSION


         Petitioner prays that this court takes the factors set out
in the above styled motion, vacate the judgment and/or resentence
Petitioner to time served based on his act of heroism.




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                                                                                    /




                          CERTIFICATE OF SERVICE


        I, Gregory Welch, CERTIFY that a true and correct copy has
been sent to the A.U.S.A. office on this day of        , zq·
                                                          .     January
2020.




                                                Respectfully Submitted,




                                                Gre o   Welch #73675
                                                B~l, Federal Correctional
                                                Complex-Medium
                                                P.O. BOX 1032
                                                Coleman, FL 33521




                                     8.
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                Exhibit: A
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'BP-S148. 055 ImulTE REQUEC TO STAFF CDFRM
 SEP 98
U.S. DEPARTMENT OF JUSTICE                                                                       FEDERAL BUREAU OF PRISONS


                                                                             DATE:

  FROM:'                                                                     REGISTER N . :
 Gtt.. (           Wfk. l-!-                                                 73fo7S--O<:>,
 WOR            SIGNMENT:                                                    UNIT:
  fd-wnr~r                                                                     is- l
SUBJECT: (Briefly state your question or concern and the solution.yo u are requesting.
Continue on back, if necessary. Your failure to be specific may result in no action being
taken. If necessary, you will be interviewed in order to successfull y respond to your
request.)
   "Due -to ~ ·                          TM.{\-c.VV\..e.(J-\-OJ--10"   of -tk_ ..'fic-5cr 5te..f AL~''+o obto..:ri ?.e.\~-tf
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  -tb £_xhov..1d-                  00~ ~J.M,n~S(tt"Gl+~ve... ~ooeJ7eJ 1 -:C-           {i\J..~ qe,t-     MO     .>e11ttoCt ~ c . _ ~
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                                                        (Do not write below this line)

 DISPOSITION:




                   Signa1=-e1:rce. Sta.ff -MeI11Be:1: ·


Record Copy - File; Copy - Inmate
(This form may be repl~cated via WP)                                         This form replaces BP-148.070 dated Oct 86
                                                                             and BP-S148.070 APR 94

arinted   on Recycled Paper
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    Resp onse to Inmate Requ est to· Staff



   Inmate: WELC H, Gregory
   Register Number: 73675-004
   Institution / Housing Unit: COM / B Unit (802-052U)


    This is in response to your Inmate Request to Warden, wherein
                                                                       you request
    consideration for relief based on the Extra Ordinary and Comp
                                                                    elling Reasons listed in
    18 U.S.C. §§ 3582(c). You request consideration based on an
                                                                     incident dated
   Septe mber 24, 2018, when you were assigned as an inmate compa
                                                                          nion~ You observed
   staff being assaulted by an inmate on suicide watch. You notifie
                                                                      d the control cente r via
   the suicide watch phone; initiating staff response, which ultima
                                                                    tely resulted in the office r
   and inmate being secured and preventing further harm. You are
                                                                       requesting relief for
   "Extraordinary and Compelling Reason" based on the "First Step
                                                                        Act' due to your
   response to this situation.

  A thorough review of your request was completed. Utilizing Progr
                                                                       am State ment
  5050.50, Compassionate Release/Reduction in Sentence: Proce
                                                                       dures for
   Implementation of 18 U.S.C. 3582 (c)(1)(A) and 4205(g), dated
                                                                     January 17, 2019, you
  do not meet the criteria to be considered for Extraordinary or Comp
                                                                           elling
  Circumstances. Section 7 of the policy statement explains that
                                                                    in all RIS cases,
  consideration should be given to factors such as the nature and
                                                                      circumstances of the
  inmate's offense; the inmate's criminal history; the inmate's institu
                                                                        tional adjustment;
  wheth er release would minimize the severity of the offense; and
                                                                      wheth er release
  would pose a dange r to the safety of any other person in the comm
                                                                          unity.
  Documentation reflects you are 40 years old and you have serve
                                                                  d 9 years of your 15
  year sentence. A review of your current offense reveals you were
                                                                   convicted of
  Poss~ssion of a Firearm by a Convicted Felon. Due to the fact
                                                                 you received
  sentencing enhancements becau se you are considered an armed
                                                                    career criminal,
  your release would minimize the severity of your offense and pose
                                                                    a risk to the
  community.

  After careful review of this information, consideration for Comp
                                                                   assionate Release/RIS is
   enied. In compliance with Burea u of Prisons' Program Statement
                                                                        5050.50, titled
   omp sionate Release/Reduction in Sentence, you may appea
                                                                     l this denial through the
   dmi i ra ·y R medy Program if you are unsatisfied with this
                                                                    esponse.


                                                             I
                                                           Date
                                                                  9
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                                             Bureau of Prisons         **SENSITIVE BUT UNCLASSIFIED**

                                            Psychology Services
                                Inmate Companion Program - Administrative Note
Inmate Name:        WELCH, GREGORY                                                                           Reg #:     73675-004
Date of Birth:      01/09/1979                    Sex:            M.           Facility: COM                 Unit Team: A 1 SKILLS
Date:               01/23/2019 11 :02             Provider:       Benitez, P. PhD

 Comments
    Inmate is currently a Mental Health Companion in the Skills program. He has been in the Skills Program since 9-28-
    2015. He is a good role model to other inmates and implements the philosophy and methodology of the program on a
    daily basis. Additionally he is a Suicide Companion for Psychology Services.    '

    PROGRAM OVERVIEW
    The Skills Program is a unit-based residential treatment  I
                                                                program designed to improve the institutional adjustment of •
    inmates who have intellectual and social deficiencies. Past trends have demonstrated that inmates with lower IQs,
    neurological deficits from acquired brain injuries, fetal alcohol syndrome, and/or remarkable social skill deficits have
    often become victimized and manipulated by more sophisticated inmates in the general population. As a result, they
    may be placed in the Special Housing Unit (SHU) for their protection or may have frequent misconduct reports because
    of their limited decision making skills.

    The Skills Program employs a multi-disciplinary treatment approach aimed at teaching participants basic educational
    and social skills over a 16 month period. The goal of the program is to increase the academic achievement and adaptive
    behaviors of this special needs population, thereby improving their institutional adjustment and the likelihood for
    successful community reentry.

     The SKILLS PROGRAM Mental Health Companions are responsible for:
     - Knowing the Group Rules and Unit Rules
     -Knowing their assigned Participant's Treatment Schedule
      - Helping and encouraging the Skills Program Participant's to attend all assigned groups and classes
     - Assisting and encouraging the Skills Program Participant's to complete all assignments, to include reading, group
     workbook, and GED homework assignments .
      - Actively participating in the Community Morning Meeting, especially when assigned to facilitate the meeting
      - Employing common courtesy and respect to both staff and inmates
      - Maintaining treatment confidentiality                                                       .
      - Maintaining a "willingness" to participate in the Skills Program  Community   Activities, Special    Functions, and in the
      offering of Service and Topic Groups·                                                                                  ·
      - Demonstrating the desire to make positive changes       not only within themselves, but  to   help facilitate positive growth
      within ALL members of the Skills Program Community
    · - Being a positive role model within the Skills Program

     Inmate Welch has participated twice in role plays for staff training. C3 Core Correctional Communication Program is a
     program creating a collaborative approach for maximizing safety and personal growth. The scenarios centered on
     common issues that typically arise
     within a correctional environment.

     Furthermore, on 9-24-2018 while Inmate Welch was acting in the capacity of Suicide Companion in Health Services he
     observed the inmate on suicide watch assaulting a staff member. Inmate Welch promptly called control for help and ·
     secured staff safety. Due to this he was issued a certificate of heroism.


Completed by Benitez, P. PhD on 01/23/201911:16




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                 Exhibit:··B
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                 Individualized Reentry Plan - Program Review (Inmate Copy)                                                                        SEQUENCE: 0162saoo
                              Dept. of Justice / Federal Bureau of Prisons                                                                      Team Date: 08-05-2019
                 Plan is for inmate: WELCH, GREGORY 73675-004

          Facility:       COM COLEMAN MED FCI                                               Proj. Rel. Date:                     03-16-2023
           Name:          WELCH, GREGORY                                                    Proj. Rel. Mthd:                     GCT REL
     Register No.:         73675-004                                                           DNA Status:                       MIM04137 / 09-29-2010
             Age:         40
     Date of Birth:       01-09-1979
r1¥,im,~z:l:.~i{,(t-·,:,:·.'. .·1•• , ..,::7z"'., ~=·:,e_;;;:;;:_::;./., .;~.· p;;.';.Tf:'.- '~:.·:~~{/77}:~7;'."~<:.;~f;?:;fr;~-::·--;;-;::i~~~::~;;.;:7::-::;;::yj
?etaining Agency                                             Remarks                                                                        ·                                                       I
 NO DETAINER



             Assignment          Description
 COM         ED WORKER           EDUC WORK DETAIL                                               06-07-2019

 ::Ji~"~·.5~~~~J!§t!-,1111Rrm!-~PJt·f:_:-.:~-- -:;(:;;?fg·7;,m;"?:~'Z0:GC'.f'::=:'.·:-~.kir:::0::s.·::::T;F~2~z:-:$c~:~~
 Facl        Assignment          Description                                                    Start
 COM         ESL HAS             ENGLISH PROFICIENT                                             07-10-2010
 COM         GED EARNED          GED EARNED IN BOP                                               07-22-2011

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                                                                                              - , - ~ }.,
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 SubFacl Action                  Description                                                    Start                                            Stop
 COM           C                 SPANISH THRESHOLD PARTICIPANT                                  05-28-2019                                       05-29-2019
 COM           C                 CULINARY ARTS CLASS AM                                         07-22-2018                                       02-28-2019
 COM           C                 COLLEGE SEMINAR                                                01-15-2019                                       02-08-2019
 COM           C                 ADVANCED JUMP ROPE                                             03-30-2018                                       06-24-2018
 COM           C                 INTERMEDIATE JUMP ROPE                                         01-19-2018                                       03-30-2018
 COM           C                 GODLY LEAD CHAPEL PROGRAM                                      12-04-2017                                       01-12-2018
 COM           C                 RESUME WRITING PROGRAM--EDUC                                   10-10-2017                                       12-22-2017
 COM           C                 JOB FAIR INTERVIEW                                             09-19-2017                                       11-14-2017
 COM           C                 VT/CUSTODIAL MAINTENANCE PROG.                                 07-03-2017                                       09-29-2017
 COM           C                 FINANCIAL PEACE                                                05-24-2017                                       08-30-2017
 COM           C                 STEP FORWARD                                                   12-02-2016                                        12-02-2016
 COM           C                 ADVANCED LEATHER CLASS                                         11-27-2016                                       01-12-2017
 COM           C                 STEP FORWARD                                                   12-02-2016                                        12-02-2016
 COM           C                 RE-ENTRY SEMINAR                                               11-30-2016                                        11-30-2016
 COM           C                 INTERMEDIATE LEATHER CLASS                                     10-22-2016                                        11-27-2016
 COM           C                 BEGINNING LEATHER CLASS                                        08-07-2016                                        10-07-2016
 COM           C                 EDU-ACE CRIMINON CLASS                                         05-04-2016                                       08-04-2016
 COM           C                 PHOTO CLASS                                                    05-02-2016                                        07-03-2016
 COM           C                 MED EDUCATION PARENTING PROG                                   03-23-2016                                        06-29-2016
 COM           C                 DISTRIBUTION OF RIF BOOKS                                      06-15-2016                                        06-22-2016
 COM           C                 PERSONAL MASTERY                                               02-11-2016                                        05-24-2016
 COM           C                 PARENTING SOCIAL SVC                                           04-06-2016                                        04-06-2016
 COM           w                 TYPING VT PM CLASS                                             12-18-2015                                        01-19-2016
 COM           C                 ADVANCED AEROBICS                                              11-18-2015                                        01-20-2016
 COM           C                 EDUC DEPT LEGAL RESEARCH ACE                                   10-02-2015                                        12-31-2015
 COM           C                 RE-ENTRY SEMINAR                                               10-26-2015                                        12-14-2015
 COM           C                 REENTRY INFORMATION                                            07-13-2015                                        09-21-2015
 COM           C                 FAMILY STRUCTURES (ACE)                                        07-01-2015                                        10-02-2015
 COM           C                 4 Hl:ALTHY LIVING                                              04-20:2015                                        10-01-2015
 COM           C                 METRO-HEALTH AND AIDS AWARE                                    06-24-2014                                        06-24-2014
 COM           C                 RELAPSE PREVENTION #1                                          06-17-2014                                        09-09-2014
 COM           C                 PERSONAL FINANCE                                               07-14-2014                                        07-14-2014
 COM            C                ACE FORWARD THINKING                                           04-01-2014                                        06-23-2014
 COM            C                DIGITAL VIDEO MAKING ACE                                        12-28-2013                                       04-01-2014
 COM            C                EDUC DEPT LEGAL RESEARCH ACE                                    12-28-2013                                       04-01-2014
 COM            C                HISTORY OF AFRICA ACE/EDUC                                      12-28-2013                                       04-01-2014
 COM            C                RPP PERSONAL GROWTH #6                                          03-19-2014                                       03-20-2014

  Archived as of 08-28-2019                       Individualized Reentry Plan - Program Review (Inmate Copy)                                                                  Page 1 of 4
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                  Individualized Reentry Plan - Program Review (Inmate Copy)                                                                               SEQUENCE: 01625800
                               Dept. of Justice/ Federal Bureau of Prisons                                                                              Team Date: 08-05-2019
                  Plan is for inmate: WELCH, GREGORY 73675-004

ISubFacl Action                Description                                                                 Start                                         Stop
 COM          C                JOB FAIR INFORMATION                                                        01-23-2014                                    01-23-2014
 COM          C                DRIVERS LICENSE COURSE                                                      01-23-2014                                    01-23-2014
 COM          C                VT ELECTRICAL PM                                                            09-16-2013                                    02-06-2014
 COM          C                ACE BEG SPANISH                                                             10-01-2013                                    12-28-2013
 COM          C                EDUC DEPT LEGAL RESEARCH ACE                                                 10-01-2013                                   12-28-2013
 COM          C                #6 SELF ESTEEM GROUP                                                         10-22-2013                                   10-22-2013
 COM          C                RESPONSIBLE THINKING #6                                                     09-18-2013                                    10-16-2013
 COM          C                HVAC VT PROGRAM-1200-1500 M-F                                               06-28-2013                                    09-13-2013
 COM          C                MONEY SMART PROGRAM (ACE)                                                   07-09-2013                                    07-30-2013
 COM          C                RPP HEALTH/NUTRITION #1                                                     06-26-2013                                    06-26-2013
 CLP          C                BEGINNING SPINNING                                                          03-20-2013                                    06-12-2013
 CLP          C                MAVIS BEACON TYPING                                                         08-12-2012                                    10-27-2012
 CLP          C                FDIC MONEY SMART PROGRAM                                                     09-22-2011                                   03-08-2012
 CLP          C                   FDIC MONEY SMART PROGRAM                                                  12-01-2011                                   06-04-2012
 CLP          w                ACE FINANCIAL WEALTH                                                         03-28-2011                                   11-14-2011
 CLP          C                   RPP HEALTH/NUTRITION #1                                                   06-26-2011                                   06-26-2011
 CLP          C                GED SCORES PENDING                                                           05-09-2011                                   07-29-2011
 CLP          W                GED 0730-1030 R4 MON/WED/FRI                                                 11-29-2010                                   05-09-2011

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   earing Date                    Prohibited Acts                                                                                             .
 ** NO INCIDENT REPORTS FOUND IN LAST 6 MONTHS **

                                                                                                                             ,_-,.·.:,   .·
 Assignment                       Description                                                               Start
 CARE1-MH                         CARE1-MENTAL HEALTH                                                       10-01-2010
 CARE2                            STABLE, CHRONIC CARE                                                      11-16-2010

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 !Assignment .                    Description                                                               Start                                                                                             I
 NO PAPER                         NO PAPER MEDICAL RECORD                                                   07-15-2010
 REG DUTY                         NO MEDICAL RESTR-REGULAR DUTY                                             07-19-2010
 YES F/S                          CLEARED FOR FOOD SERVICE                                                  07-19-2010


 Assignment             Description                                                                         Start
 ED COMP                DRUG EDUCATION COMPLETE                                                             02-22-2011
 ·.,~fil!~~Jls:}~:t·;~.;-~:- ::~;.,~•,·,· · , ";,~:'~; ....,p,                            ·:·): .. .'   }'·-~·/~~<··?·" ,                                              ~ci;,, .. _ ·-             .·.'/       l
 Most Recent Payment Plan
 FRP Assignment:       COMPLT    FINANC RESP-COMPLETED           Start: 07-25-2012
 Inmate Decision:  AGREED        $25.00               Frequency: QUARTERLY
 Payments past 6 months:   $0.00             Obligation Balance: $0.00
 fi,~a11c1a)-Q~~-··.'', .:: .·       cy;:-, · . .-,~-=:t~'-' ,-,,, -~;;::.:::';,<},·-~:~:.:. ;'; ·/.P.~·                  ·.·. _,·,: ,. ·:\ -'·,_ ·,> ·:: ·-:•,L ;/::'.-- : '..·:            ··sc.£E'.:if::
 !No.        Type                 Amount                     Balance                          Payable                       Status                                                                            I
  1          ASSMT                $100.00                    $0.00                            IMMEDIATE                     COMPLETEDZ
                                     . •• NO ADJUSTMENTS MADE IN LAST 6 MONTHS ••

 ~ay!nent:De~lis ;,_ .·       .:••·• :'.··-'\.-c·-·.   · ·   '::._:.;.~·:,;•_:.,L.:.-::_..::::.., ., ·:-. -· ·- · ·.:·~ •. ' .                .'.:''.:.:.:c..C:.:.:'.~~-:..J.:_:.i..>~.,~.:.....:,/-\.~i:.::2''
 Trust Fund Deposits - Past 6 months: $ N/A                  ·                            Payments commensurate ?                    N/A
 New Payment Plan:          I••No data**



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 ~~~t~fr<fg~~;~~vi~!r~~~J~"::2-=.?.:iFJ-:rt:=7::istt±.f?:.~~~1/'le;?f??it:'_-:_i:=~:r:~•i:fii~:E·tB!S
  Inmate is to submit a cop-out to the V.T. Coordinator for enrollment in the Microsoft Office course and the ACE typing course and complete either course
  by January 2020.

 Archived as of 08-28-2019                         Individualized Reentry Plan - Program Review (Inmate Copy)                                                                         Page 2 of 4
Case 0:09-cr-60212-KAM Document 82 Entered on FLSD Docket 02/03/2020 Page 16 of 19

                Individualized Reentry Plan - Program Review (Inmate Copy)                                                   SEQUENCE: 0162saoo
                             Dept. of Justice / Federal Bureau of Prisons                                              Team Date: 08-05-2019
                Plan is for imnate: WELCH, GREGORY 73675-004




 Maintains physical well-being through health promotion and disease prevention strategies such as a healthy lifestyle and tlabits, routine medical care,
 regular exercise, and appropriate diet.




 Archived as of 08-28-2019                      Individualized Reentry Plan - Program Review (Inmate Copy)                                  Page 3 of 4
Case 0:09-cr-60212-KAM Document 82 Entered on FLSD Docket 02/03/2020 Page 17 of 19

            Individualized Reentry Plan - _Program Review (Inmate Copy)                           SEQUENCE: 0162ssoo
                         Dept. of Justice / Federal Bureau of Prisons                          Team Date: 08-05-2019
            Plan is for inmate: WELCH, GREGORY 73675-004

               Name:      WELCH, GREGORY                            DNA Status:   MIM04137 / 09-29-2010
         RegisterNo.:     73675-004
                 Age:     40
         Date of Birth:   01-09-1979




                             Inmate   (WELCH, GREGORY. Register No.: 73675-004)




                             Date




     Unit Manager / Chairperson                               Case Manager



     Date                                                    Date


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                   Case 0:09-cr-60212-KAM Document 82 Entered on FLSD Docket 02/03/2020 Page 18 of 19
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                 Gregory Welch #73&75-004
                 B-1, Federal Correctional Complex Coleman Medium
                 P.O. BOX 1032
                 Coleman, FL 33521




                                                                  Paul G. Rogers Federal Building
                           LEGAL MAIL                             and United States Courtho 1 1se
                                                                  701 Clematis Street, Room 316
                                                                  West Palm Beach, FL 33401
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Case 0:09-cr-60212-KAM Document 82 Entered on FLSD Docket 02/03/2020 Page 19 of 19




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